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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE               Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988             www.ca6.uscourts.gov




                                                Filed: July 01, 2019




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Ms. Jennifer Smith Rusie
Ogletree Deakins
401 Commerce Street
Suite 1200
Nashville, TN 37219

                     Re: Case No. 19-5395, Larry Redmon v. Yorozu Automotive TN, Inc.
                         Originating Case No. : 4:18-cv-00038

Dear Counsel,

  The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/Jennifer Earl
                                                Case Manager
                                                Direct Dial No. 513-564-7066

cc: Mr. John L. Medearis

Enclosure




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                                         Case No. 19-5395

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT

                                             ORDER

LARRY SHANE REDMON

             Plaintiff - Appellant

v.

YOROZU AUTOMOTIVE TENNESSEE, INC.

             Defendant - Appellee



       Upon consideration of appellee’s motion to hold case in abeyance pending the Supreme

Court’s decision on the petitions for certiorari in Bostock v. Clayton County, Georgia (No. 17-

1618) and Altitude Express, Inc.v. Zarda (No. 17-1623),

       It is hereby ORDERED that the motion be, and it hereby is, GRANTED. It is further

ORDERED that the appellee is required to file a status report every 60 days beginning

August 30, 2019.

                                                 ENTERED PURSUANT TO RULE 45(a),
                                                 RULES OF THE SIXTH CIRCUIT
                                                 Deborah S. Hunt, Clerk


Issued: July 01, 2019
                                                 ___________________________________




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